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District of Arizona

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Filed 02/28/23

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CLEAK U S DISTRICT COURT
DISTRICT OF ARIZONA
DEPUTY

REDACTED FOR
PUBLIC DISCLOSURE

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,
VS.
1. Heriberto Lopez-Landeros,
(Counts 1, 2, 5, and 6),

2. David Copeland,
(Counts 1, 2)

3. Tywanda Devar Woods,
(Counts (1, 3)

4, Donnie Elbert Culberson,
(Counts (1, 4)

5. Roy Eugene Evans,
(Count [)

6. Kevin McDonald,
(Counts 1, 5)

7, Alfonso Arceo,
(Counts 1, 7)

Defendants.

No.

VIO:

CR-23-00212-PHX-SPL

SUPERSEDING
INDICTMENT

21 U.S.C. § 846
Conspiracy to Distribute Controlled

ubstances)
(Count 1)

21 U.S.C. §§ 841(a)(1) and

841 (bY AVW ID

(Possession with Intent to Distribute
Methamphetamine)

(Count 2)

21 U.S.C. §§ 841(a)(1) and
841(b)(1)(A)(vi
Possession with Intent to Distribute
entanyl
(Count 3

21 ULS.C. §§ 841(a)(1) and

841 (by 1(A(vi
Possession wit
entanyl

(Count 4

21 U.S.C. §§ 841(a)(1) and

841(b)(1 (A)(viii)

(Possession with Intent to Distribute
Methamphetamine)

(Count

Intent to Distribute

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21 U.S.C. §§ 841(a)(1) and
841(b)(L)(A)(vi)
Possession with Intent to Distribute

entanyl)
(Count 6)

21 USS.C. §§ 841(a)(1) and
841(b)(1)(B)(vi)
Possession with Intent to Distribute
entanyl)
(Count 7)

18 U.S.C. §§ 981 and 982,
21 U.S.C. §§ 853 and 881,
and 28 U.S.C. § 2461(c)
(Forfeiture Allegations)

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THE GRAND JURY CHARGES:
COUNT 1

Beginning in or about February 2022 through on or about February 22, 2023, in the
District of Arizona and elsewhere, the defendants HERIBERTO LOPEZ-LANDEROS,
DAVID COPELAND, TYWANDA DEVAR WOODS, DONNIE ELBERT
CULBERSON, ROY EUGENE EVANS, KEVIN MCDONALD, and ALFONSO ARCEO
did knowingly and intentionally combine, conspire, confederate and agree with each other
and with other persons known and unknown to the Grand Jury to distribute 500 grams or
more of a mixture and substance containing a detectable amount of methamphetamine, its
salts, isomers, and salts of its isomers, a Schedule II controlled substance, 100 grams or
more of a mixture or substance containing a detectable amount of heroin, a Schedule II
controlled substance, and 400 grams or more of a mixture or substance containing a
detectable amount of N-phenyl-N-[ 1-(2-phenylethyl ) -4-piperidinyl] propenamide
(commonly known as fentanyl), a Schedule II controlled substance in violation of Title 21,
United States Code, Sections 841(a)(1), 841(b)(1)(A)(wviii), 841(b)(1)(B)(), and
841(B)(1)(A)(vi).

All in violation of Title 21, United States Code, Section 846.

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COUNT 2
On or about June 5, 2022, in the District of Arizona, defendants HERIBERTO
LOPEZ-LANDEROS and DAVID COPELAND did knowingly and intentionally possess
with the intent to distribute 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, a
Schedule II controlled substance.
All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(viii).
COUNT 3
On or about July 30, 2022, in the District of Arizona, defendant TYWANDA
DEVAR WOODS did knowingly and intentionally possess with the intent to distribute 400
grams or more of a mixture or substance containing a detectable amount of N-phenyl-N- [
1- (2-phenylethyl ) -4-piperidinyl] propenamide (commonly known as fentanyl), a
Schedule II controlled substance.
All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(vi).
COUNT 4
On or about December 6, 2022, in the District of Arizona, defendant DONNIE
ELBERT CULBERSON did knowingly and intentionally possess with the intent to
distribute 400 grams or more of a mixture or substance containing a detectable amount of
N-phenyl-N- [1- (2-phenylethyl ) -4-piperidinyl] propenamide (commonly known as
fentanyl), a Schedule IT controlled substance.
All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(vi).
COUNT 5
On or about January 31, 2023, in the District of Arizona, defendants HERIBERTO

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LOPEZ-LANDEROS and KEVIN MCDONALD did knowingly and intentionally possess
with the intent to distribute 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, a
Schedule IT controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)1)(A)(viii).

COUNT 6

On or about February 15, 2023, in the District of Arizona, defendant HERIBERTO
LOPEZ-LANDEROS did knowingly and intentionally possess with the intent to distribute
400 grams or more of a mixture or substance containing a detectable amount of N-phenyl-
N- [1- (2-phenylethy1 ) -4-piperidinyl] propenamide (commonly known as fentanyl), a
Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(vi).

COUNT 7

On or about February 22, 2023, in the District of Arizona, defendant ALFONSO
ARCEO did knowingly and intentionally possess with the intent to distribute 40 grams or
more of a mixture or substance containing a detectable amount of N-phenyl-N- [1- (2-
phenylethy! ) -4-piperidinyl| propenamide (commonly known as fentanyl), a Schedule IT
controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(B)(vi).

FORFEITURE ALLEGATION

The Grand Jury realleges and incorporates the allegations of Counts 1 through 7 of
this Superseding Indictment, which are incorporated by reference as though fully set forth
herein.

Pursuant to Title 18, United States Code, Sections 981 and 982, Title 21, United

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States Code, Sections 853 and 881, and Title 28, United States Code, Section 2461(c), and
upon conviction of one or more of the offenses alleged in Counts 1 through 7 of this
Superseding Indictment, the defendant(s) shall forfeit to the United States of America all
right, title, and interest in (a) any property constituting, or derived from, any proceeds the
persons obtained, directly or indirectly, as the result of the offense, and (b) any property
used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of such offense, including, but not limited to the following property involved
and used in the offense:
2021 Dodge Ram _ Arizona License Plate B6A10C and _ VIN:
1C6SRFHT2MN652778;
2015 Cadillac Escalade Arizona License Plate CSM7347 and VIN:
1GYS4CKJOFR307509;
If any of the above-described forfeitable property, as a result of any act or omission
of the defendant(s):
(1) cannot be located upon the exercise of due diligence,
(2) has been transferred or sold to, or deposited with, a third party,
(3) has been placed beyond the jurisdiction of the court,
(4) has been substantially diminished in value, or
(5) has been commingled with other property which cannot be divided without
difficulty,
it is the intent of the United States to seek forfeiture of any other property of said
defendant(s) up to the value of the above-described forfeitable property, pursuant to Title
21, United States Code, Section 853(p).
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All in accordance with Title 18, United States Code, Sections 924(d) and 981, Title
21, United States Code, Sections 853 and 881, Title 28, United States Code, Section
2461(c), and Rule 32.2, Federal Rules of Criminal Procedure.

A TRUE BILL

/s/

FOREPERSON OF THE GRAND JURY
Date: February 28, 2023

GARY M. RESTAINO
United States Attorney
District of Arizona

/s/

RYAN MCCARTHY
Assistant U.S. Attorney

